                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       NO. 3:10-00065
                                                 )       JUDGE CAMPBELL
QUINCY MAURICE FUQUA, et al.                     )

                                          ORDER

      The plea hearing and/or pretrial conference currently scheduled for November 30, 2012,

at 10:00 a.m. is RESCHEDULED for November 28, 2012, at 10:00 a.m.

      It is so ORDERED.



                                                 _________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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